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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                  Plaintiff,                            4:13-CR-3130

vs.
                                                           ORDER
JOSUE ZAMORA QUINTERO,

                  Defendant.

      This matter is before the Court on the plaintiff’s Motion to Dismiss
Forfeiture Allegation (filing 233). The superseding indictment (filing 69)
sought the forfeiture of a number of properties from the defendant. In
support of its motion to dismiss, the plaintiff represents that these properties
have already been administratively forfeited to the Drug Enforcement
Administration, such that a judicial forfeiture is no longer necessary. See, 21
U.S.C. § 881 and 19 U.S.C. § 1607–1609. The Court finds that the motion
should be granted. Accordingly,

      IT IS ORDERED:

      1.    As to the defendant Josue Zamora Quintero, the plaintiff’s
            Motion to Dismiss Forfeiture Allegation (filing 233) is
            granted.

      2.    As to Quintero, the forfeiture allegation in the superseding
            indictment (filing 69) is dismissed.

      Dated this 2nd day of May, 2014.

                                           BY THE COURT:



                                           John M. Gerrard
                                           United States District Judge
